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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

KIMBERLY THEIDON,

Plaintiff,
CIVIL ACTION NO, 1:15-cv-10809-LTS
Vv.

HARVARD UNIVERSITY, and the
PRESIDENT AND FELLOWS OF
HARVARD COLLEGE

Defendant.

AFFIDAVIT OF MICHAEL D, SMITH
I, Michael D, Smith, hereby depose and state under oath and on personal knowledge:

1. My name is Michael D. Smith. I am the John H. Finley, Jr. Professor of
Engineering and Applied Sciences and the Edgerley Family Dean of Faculty of Arts and
Sciences (“FAS”). I have been a member of Harvard’s Faculty since 1992 and have served as

FAS Dean since 2007.

2. I understand that counsel for former Associate Professor Kimberly Theidon has
requested a broad range of documents relating to Harvard’s decision not to grant her tenure in
2013, and has also requested a broad range of documents relating to other tenure decisions made
between 2008 and 2015. The purpose of this Affidavit is to describe the tenure process at
Harvard and to explain why protecting the confidentiality of the views expressed about tenure
candidates and others scholars is critical to Harvard’s ability to ensure that tenure is granted only

to faculty members of extraordinary accomplishment and promise.
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The Importance of the Tenure Process within Harvard’s Faculty of Arts and Sciences

3. The decision whether to appoint a tenure-track faculty member to a tenured
position is among the most important choices that a university faces. Successful candidates must
be among the very best scholars in the world in their disciplines, or, if at an early stage of their
careers, must show every promise of becoming one of those very best scholars. As FAS states in

published criteria for tenure, FAS reserves tenure for:

scholars of the first order of eminence who have demonstrated excellence in
teaching and research and who have the capacity to make significant and lasting
contributions to the department(s) that propose the appointment. The foremost
criteria for appointment are scholarly achievement and impact on the field,
evidence of intellectual leadership and creative accomplishment, potential for
future accomplishments, teaching and advising effectiveness in a variety of
settings with both undergraduate and graduate students, and potential
contributions to the University and broader scholarly communities,

Tenure-Track Handbook (attached as Exhibit A). |

4, Decisions granting tenure collectively determine the quality, character and
reputation of an institution. Tenure within FAS is, absent extraordinary circumstances, a lifetime
appointment. There are a limited number of tenured positions available in the FAS. A decision to
grant tenure to a candidate who is not truly of the first order of eminence would have negative
repercussions on the FAS and in particular on a department’s reputation, scholarly excellence,
and the experience of its students and other faculty members for thirty years or longer. Harvard
strives very hard to make informed decisions regarding the granting of tenure and, as I explain in

more detail below, confidentiality is essential to doing so.

* Available at http://isites. harvard. cdu/ich/.do?keyword=k15149

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The Tenure Process in Harvard’s Faculty of Arts and Science

5. FAS has well-established standards in deciding whether to award tenure to a
tenure-track professor in FAS, and in the process it uses to make that decision. Both FAS’s
criteria and its tenure procedure are described in publications on Harvard’s website. The formal
procedures themselves are set forth in the FAS Appointment and Promotion Handbook.” A
summary of the procedures addressed specifically to FAS’s tenure-track faculty is contained in

the Tenure-Track Handbook. See Ex. A,

6. In the case of a scholar under consideration for tenure from FAS’s own ranks, the
regular appointment process begins with the scholar’s appointment as an assistant professor in a
Harvard FAS department. An appointment as an assistant professor is ordinarily for a period of

five years,

7, In the penultimate year of that appointment (assuming a regular schedule without
appointment extensions for circumstances such as the birth of a child), an assistant professor may
be considered for promotion to associate professor. At the FAS, an associate professorship is a
tenure-track appointment held by individuals who have demonstrated sufficient promise and
achievement such that they would be expected to qualify for tenure at a major research
institution within three to five years. Associate professors ordinarily are appointed for a term of
four years. Unlike many other universities, an associate professor at Harvard is not a tenured
position; the only tenured rank is that of Professor. Promotion to associate professor is by no
means an indication or promise that tenure will follow. We appoint tenure-track faculty because

we believe they each possess the intellectual ability, creativity, and drive to be excellent

? Available at http://academic-appointments. fas. Harvard.edu.

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candidates for promotion to tenure at Harvard; however, only those tenure-track faculty who
become “scholars of the first order of eminence” and satisfy the University’s other very high
standards will, in fact, receive offers of tenure. Review for promotion to tenure ordinarily occurs
in the penultimate year of the associate professor appointment and, as noted in more detail

below, consists of multiple levels of review.

8. Confidentiality is (1) a promise to the internal and external experts that their
honest opinions about the candidate’s scholarship, teaching and service will be read by only
those responsible for making the tenure decision, and (2) a promise to the candidate under review
that the opinions collected won’t be made available to anyone other than those responsible for
making the tenure decision. Confidentiality is enforced at each stage of the tenure review. For
example, early in the initial tenure review process, the chair of the tenure candidate’s department
solicits “external” letters that compare the candidate with leading scholars in the candidate’s
field. These external letter writers are selected because they are subject matter experts, They are
asked to assess, among other things, the candidate’s scholarly achievements and potential for
future accomplishments and also to provide a recommendation as to whether the candidate
qualifies for tenure at Harvard, These confidential letters are included in the candidate’s dossier
and reviewed by a departmental tenure review committee. These external evaluations help the
candidate’s colleagues determine whether the candidate’s work has met the FAS standards for
tenure. To help make this determination, the external reviewers are asked to compare the
candidate against other scholars in the candidate’s field. Because FAS wants these external
reviewers to provide the most candid evaluations possible, the letter soliciting external reviews

tells the external scholars that we will make “every effort to keep [his or her] response
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confidential to the extent permitted by law and to make it available only to the senior members

of the [relevant] Department and others directly involved in the formal review process.”

9. If a significant majority of the tenured faculty in the associate professor’s
department vote in support of the associate professor’s candidacy, the dossier is forwarded to the
FAS Committee on Appointments and Promotions (comprised of select tenured faculty and
senior administrators from across the FAS), and each of the tenured faculty in the department is
asked to write a confidential (“internal”) letter to the FAS Dean, These letters provide an
opportunity for each faculty member in the associate professor’s department to individually
voice their views of the associate professor’s case for promotion to tenure. The internal letters
become part of the associate professor’s dossier. The dossier is then reviewed by the FAS Dean
and the Committee on Appoiniments and Promotions, and if the dossier is sufficiently strong, the
Dean recommends to the President that she consider approving an appointment as professor with
tenure in the department. In some cases (where it appears that the candidate is clearly not
qualified for tenure), the FAS Dean and the Committee on Appointments and Promotions
conclude that the dossier is not sufficiently strong to merit further consideration, and the tenure
process ends. In most cases, however, the dossier is forwarded to the President for further

consideration.

10, The President makes the final decision regarding all tenure appointments. In
addition to all of the information in the associate professor’s dossier, to help in making this
decision, the President (or Provost) typically presides over an Ad Hoc committee convened to
discuss the associate professor’s case for promotion. Either the President or Provost may preside
over the Ad Hoc Meeting, depending on scheduling or other issues, and no significance attaches

to which of the two is present for the meeting and presides. (Whether the President or Provost
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presides over the Ad Hoc, the final tenure decision rests with the President.) Like the internal
and external letters, the function of the 4d Hoc committee is to provide a forum where the
President (or Provost) can ask questions of subject matter experts and receive further candid
information about whether the candidate’s work meets the standard for tenure within the FAS.
The Ad Hoc committee usually consists of three active full professors from outside Harvard, two
active full professors at Harvard (who are not from the department making the recommendation),
the President or Provost, the Dean of the Faculty, the Senior Vice Provost for Faculty
Development and Diversity, and the FAS divisional dean responsible for the case. Like the
external letter writers, the external members of the 4d Hoc committee are active scholars who
are full professors and are chosen for their deep understanding of the associate professor’s field.
Such scholars are uniquely qualified to advise the President (directly, or through the Provost) on
who in their field is a scholar of the first order of eminence. At the Ad Hoc committee meeting,
several departmental “witnesses” come individually to speak to the committee. These witnesses
usually include the department and review committee chairs, one senior faculty member who
was in favor of the promotion, and one who voted against it (if any did so). The goal in inviting
such witnesses is to ensure that the full range of views within the department is represented.
During the course of the meeting, members of the Ad Hoc committee are invited to participate
actively in asking questions of witnesses. Once the committee has heard from the witnesses, the
President or Provost continues the proceedings with a discussion of the entire case for tenure
with only the Ad Hoc committee. To conclude this discussion, the President or Provost asks each
(non-administrative) member of the committee to summarize his or her views and also to provide
a recommendation as to whether the candidate qualifies for tenure at Harvard. Following the Ad

Hoc Committee meeting, Harvard’s President may make further confidential inquiries about the
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case before making the final tenure decision. All aspects of the President’s deliberations before,

during, and after the Ad Hoc are kept strictly confidential.
The Importance of Confidentiality to the Tenure Process

11. Harvard has long believed that confidentiality is a critical part of the tenure
process. For example, in 1989, Harvard submitted an Amicus Brief in the United States Supreme
Court in the case University of Pennsylvania v, EEOC, 493 U.S, 182 (1990). That brief, written
25 years ago, states principles that remain as true today as then and I have drawn liberally from
that brief in making this Affidavit. As the Amicus Brief stated, and as I continue to believe, our
tenure process relies in a very significant way on candid and confidential evaluations made by
the tenure candidate’s scholarly peers both inside and outside the university. Such peer review is

the linchpin of the tenure process.

12. The peer review BOCES is fragile in a number of respects: it relies on extensive,
detailed and candid evaluations by scholars outstanding in their own right, with many calls on
their time; it relies on those scholars’ willingness to state their judgments of people with whom
they may work closely, either at their own universities or in other professional activities; and it
relies upon the readiness of the peer reviewers to provide their honest assessments even though
they are under no compulsion to provide them and customarily receive no remuneration for
doing so. A reliable promise of confidentiality is indispensable to obtaining peer reviews of the
quality, detail and candor necessary to make a decision as consequential as an offer of tenure.
For these reasons, Harvard has traditionally extended, and evaluators have traditionally expected,
assurance that their opinions will be held to the maximum extent possible in confidence by those

who seek the evaluations and will make the tenure decision.
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13, As FAS’s published standards make clear, FAS does not consider candidates for
tenure in a vacuum. Instead, FAS asks how a particular candidate’s scholarly accomplishments
and promise compare to scholars of the first order of eminence in their field, wherever they may
teach. Harvard solicits detailed and specific advice from scholars at other universities and
requests a detailed comparison of the candidate’s qualifications compared to other scholars in the
candidate’s field. These “compardnds” may teach or do research at the university (or in the very

department) where the letter writer teaches.

14, Such extensive resort to the scrutiny of scholars not affiliated with the university
is a critically important part of the tenure review process, for several reasons. In the first place,
using peer reviewers from outside the university results in more informed decision making. A
tenure review process that utilizes peer reviews from a dozen or more experts at a dozen or more
universities will almost certainly result in more discerning judgments about tenure candidates
than an effort confined to the university’s own department.

15, Moreover, the use of peer reviewers from outside the university is necessary to
obtain the comparative judgments upon which the tenure process depends, Given the present
high degree of academic specialization, the number of scholars qualified to render opinions
concerning a candidate’s stature in a competitive ranking in his or her academic discipline will
necessarily be located outside of Harvard (and not simply inside Harvard.) These scholars will be
located on campuses throughout the country (and sometimes in other countries as well), as no
university has a monopoly on teaching and research in any particular discipline. Thus, when
Harvard considers whether to grant tenure to a faculty member whose work focuses on a
particular specialized discipline, or the study of a particular region or time period, Harvard must

by necessity consult scholars expert in that discipline, geographical area, or time period from
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other universities as well as professors in the candidate’s own department, who may be leading
scholars in the discipline generally, or in some aspect of that discipline, but who may have
limited knowledge of the candidate’s own sub-specialty.

16. In addition, exienial reviewers provide a critical check in the tenure review
process, as it may be difficult for departmental faculty to be as objective towards close
colleagues as external reviewers may be. The use of external reviewers to make comparative
judgments therefore helps ensure that the University has the benefit of a broad range of

perspectives in coming to its decision.

17. When FAS asks an external reviewer to compare and contrast the leading scholars
in his or her field to assist FAS in its decision making, FAS anticipates that the external reviewer
will not respond merely by providing a numerical ranking, or with conclusory statements of
praise or criticism. FAS is asking external reviewers to provide specific, searching and candid
appraisals. The evaluators’ analyses generally set forth the basis for their judgments, usually by

specific reference to the candidate’s recent works and often to the recent works of others,

18. The disclosure of such appraisals would almost certainly have serious
repercussions, External reviewers are often speaking of people they know well, professionally
and possibly personally. The candidate and the “comparands” are people that the evaluator may
be working closely with at the moment or may find herself working closely with in the future.
They may serve together on a professional society’s task forces, on editorial boards of the
discipline’s journals, or on peer en panels for federal grant funding. Indeed, the evaluator
may find herself soon submitting a paper for publication, or a grant proposal for funding, on
which a colleague whom she has evaluated must pass. Such publication or funding decisions can

be critical to the evaluator’s career, and it requires little imagination to envision the
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embarrassment—and worse, the possible prejudice to publication or funding—that could result if
appraisals attributed to the evaluator were distributed beyond the very limited bounds for which

they were written.

19, Participation in Harvard’s tenure process customarily confers no financial benefit
on the external reviewer, so both participation in the process and the honesty that the process
requires depend on nothing more than the external reviewers’ sense of professional obligation. If
external reviewers believe that their evaluations will not remain confidential, many reviewers
who have legitimate criticism of a tenure candidate’s scholarly merits will, in my judgment,
simply choose not to participate in the process. As a peer reviewer myself for other institutions, I
know that I would certainly write much less informative and comparative letters if I were not

given an assurance of confidentiality.

20, These considerations apply with equal force to the confidential tenure letters
written by members of the tenure candidate’s own department. It is simply a fact of life that, if
faculty members believed that their own confidential letters to the FAS Dean might be disclosed
publicly, or even to the candidate, they would be less inclined to engage in the kind of detailed,
searching inquiry that is required to ensure that Harvard grants tenure to the very best, and only
the very best, candidates. Ifa professor believed that the tenure-track faculty member in the next
office would, if tenured, know for the rest of his or her academic career that the professor’s
confidential letter raised questions about the candidate’s scholarship, the professor would be sure
to express any negative opinions he or she had less forcefully, or not express those views at all.
As a result, considerations of confidentiality apply with at least as much force to internal letter

writers and internal 4d Hoc members as to external letter writers and external 4d Hoc members.

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21. Finally, counsel for former Associate Professor Theidon has not confined her
document requests to the plaintiffs own tenure file but has made sweeping requests for
documents relating to other tenure decisions between 2008 and 2015. Such requests invade the
privacy interests of complete strangers to the tenure decision at issue in this case. In addition,
disclosure of third-party tenure files would mean that evaluations of other candidates given in
confidence would be revealed many years later in a proceeding brought by a totally different
candidate. Such sweeping disclosures would necessarily inhibit the candor and cooperation of
scholars both outside and inside Harvard on which the integrity of our tenure process so vitally

depends.

Sworn and subscribed this 2 Y day of August 2015.

Du 3p

Michael D, Smith
Dean of the Faculty of Arts and Sciences

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Exhibit A
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Dear Colleagues,

As Dean of the Faculty of Arts and Sciences, | am deeply committed to a tenure-track
system. Having climbed the FAS “ladder” myself, | understand the importance of making this system
transparent and easy to navigate. This handbook, which outlines the tenure-track process, is
intended to address many of your questions and concerns. Although expectations and norms may
differ by discipline, each tenure-track faculty member experiences the same formal system of
reviews with the same general criteria. It is our hope that this handbook will demystify the tenure-
track process and provide you with a basic framework for success.

All of our tenure-track faculty have been appointed because you have the intellectual
ability, creativity, and drive to be excellent candidates for promotion to tenure here at Harvard, The
department chairs, the SEAS area deans, the academic deans, the Senior Adviser to the Dean on
Faculty Development, and | are committed to supporting your intellectual and professional
development. This handbook is one tool that will help you accomplish this goal. We are also
working with each department to strengthen mentoring across the FAS. These measures benefit us
all because they create an environment that attracts and promotes the very best tenure-track
faculty, thereby ensuring that Harvard remains an institution with the highest standards for
teaching and research.

Information for this handbook has been culled from a variety of sources, including members
of the Committee on Appointments and Promotions, department chairs, SEAS area deans, other
tenure-track faculty, recently tenured colleagues, the Senior Adviser to the Dean on Faculty
Development, the Senior Vice Provost for Faculty Development and Diversity, and the Standing
Committee on Women. | thank them all for their contributions. | hope you find this handbook useful
and that you will consult it not only at the beginning of your appointment, but also throughout your
time at Harvard.

With my best wishes and my many thanks for all that you bring to our institution,

Sincerely yours,

Ot

Michael D. Smith

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Overview ......
Start-Up Issues...
Questions To Ask And Whom To Ask

Second-Year Review... .

Promotion To Associate Professor _..

Promotion To Tenure. .

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The organization of this handbook mirrors the stages of experience for tenure-track faculty.
We begin with the initial appointment, turn next to the array of questions new tenure-track faculty
members face, and then describe the various reviews experienced by tenure-track faculty.

Your experience as a tenure-track faculty member begins with the search that results in
your appointment. Following the acceptance of your offer and the start of your first appointment,
you are on the tenure track: a member of the ladder faculty. Throughout the course of your
appointment, department chairs or SEAS area deans and other senior colleagues at Harvard and
elsewhere will help you to develop your career.

A few definitions, to begin:

Assistant professorship: a tenure-track appointment held by Individuals who have the
promise to produce scholarship and teaching of the highest quality and who have the
potential to be competitive for a tenured position in the department within seven years.

Associate professorship: a tenure-track appointment held by individuals who have
demonstrated sufficient promise and achievement in teaching and research to qualify for
tenure at a major research institution within three to five years. Appointments to this rank
are usually made by promotion from an assistant professorship, though they are
occasionally made by external appointment.

Tenured professorship: an appointment without limit of time at the rank of professor.
Tenured faculty members are scholars of the first order of eminence who have
demonstrated excellence in teaching and research and who have the capacity to make
significant and lasting contributions to the department(s) that proposes the appointment.
The foremost criteria for appointment are scholarly achievement and impact on the field,
evidence of intellectual leadership and creative accomplishment, potential for future
accomplishments, teaching and advising effectiveness in a variety of settings with both
undergraduate and graduate students, and potential contributions to the University and
broader scholarly communities.

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It may help to see a timeline of the course of your appointment. Assuming a regular
schedule (without appointment extensions for childbirth or other personal reasons), your
appointment progresses as follows:*

We encourage you to review the materials that follow, both at the beginning of your
appointment and then again as you progress through the steps of reviews and promotions. Any
questions about these materials can be addressed to your department chair or SEAS area dean,
your department administrator, the assistant dean for your oe or your divisional dean or the
Dean of the School of Engineering and Applied Sciences (SEAS). The FAS Office for Faculty Affairs
and the Office of the Senior Vice Provost for Faculty Development and Diversity are also good
sources of information and would welcome your questions and feedback.

' Tenure-track faculty are hired into one five-year term as an assistant professor. When an assistant professor is
promoted to an associate professor In his or her penultimate year, the first year of the assoclate term supersedes
the last year of the assistant term.

? For the rest of this document, references to the divisional deans also Include the SEAS Dean.

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You should retain a copy of your offer letter in an accessible place. Your offer letter is the
official record of the University’s commitment to you. There should be no confusion about the
elements of the offer letter, If you have questions of interpretation please contact your department
chair or SEAS area dean or the Office for Faculty Development.

In the first summer after your appointment, you should attend the New Faculty Institute.
This program Is designed to help ease your transition to the tenure-track faculty at Harvard by
providing an introduction to teaching at Harvard, as well as discussions of promotion and tenure,
working with graduate students, and balancing teaching and research. We strongly recommend
that you attend, not just for the content, but also for the professional connections and friendships
that you will forge with your newly appointed colleagues.

If you need to set up a laboratory, you should work closely with your department
administrator and the sponsored-research staff to access start-up funds as necessary (in some cases
even before your appointment begins) and to transfer any grants you may already have to Harvard.
The Office for Physical Resources and Planning will work closely with you to design and set up your
office and laboratory space, and departmental staff will help you purchase equipment for your lab.

if your research and teaching interests overlap with those of one or more of the centers or
standing committees at Harvard, you should feel free to reach out to them and draw upon their
professional connections and resources. The Senior Associate Dean for Faculty Development can
introduce you to the relevant colleagues.

While you are navigating your first year at Harvard, we urge you to remember the personal
side of your life. Harvard, Boston, and New England offer a plethora of intellectual, cultural, artistic,
athletic, gastronomic, and other opportunities for individuals and families that can provide a break
from the confines and routines of campus life.

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In your first year at Harvard, it will be important to get to know “the lay of the land” so that
you can obtain answers to questions quickly and maximize your productivity. For example, you
should learn how to buy equipment cost-effectively, strategically apply for external leave funding,
and both name and schedule your classes to maximize enrollments. Department administrators or
SEAS area administrators, department chairs or SEAS area deans, and colleagues all can help you in
these efforts.

Department Administrators or SEAS Area Administrators: the first line of defense for
general questions regarding day-to-day operations, staff support, and office basics
(including furniture, supplies, and computers). In those instances in which they do not know
the answer to your queries, they are adept at directing you to the appropriate person or
office.

Department Chair or SEAS Area Dean: the source for formal advice on preparing for
reviews and understanding promotion criteria, including scholarship, teaching portfolio
(e.g., mix of small and large, graduate and undergraduate courses), and commas work, as
well as other policy and planning issues such as the timing of leaves.

Colleagues/Mentors: a resource for advice on research, the writing and planning of grant
proposals and publications, what meetings or conferences to attend and how often, best
practices for teaching and working with graduate students, and the management of
relationships in the workplace (including with staff).

In addition, there are many others, both within and outside your department, who can
provide valuable information. For example, the Director of Undergraduate Studies (DUS) or the
Director of Graduate Studies (DGS) in your department can address questions about working with
undergraduates and graduate students. The Derek Bok Center for Teaching and Learning and the
Office for Undergraduate Education are great resources for formulating teaching strategies and
answering other course-related issues. The table on the next page lists other resources for
frequently asked questions.

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_ Issues”

| Resource & website links

Policies and procedures for reviews
and promotions

The Assistant Dean for Faculty Affairs in your division

Leave policies and eligibility
(including parental teaching relief
and appointment extensions)

The Assistant Dean for Faculty Affairs in your division

Faculty developmental networks

Divisional Deans/SEAS Dean; Standing Committee on
Women; Office of the Senior Vice Provost for Faculty
Development and Diversity

Derek Bok Center for Teaching and Learning; Office for

Teaching Undergraduate Education; Advising Programs Office
Departmental Grants Administrator; FAS Research
Administration Services; FAS Finance; SEAS Research
Research/Grants

Administration Office; FAS Committee on the Use of

Human Subjects

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Your second-year review is an informal assessment of your progress to date in research,
teaching, advising and citizenship.” The primary goals of the second-year review are to ensure that
you are receiving appropriate advice and mentoring from your senior colleagues, that your research
and teaching are developing well, and that you are aware of any potential concerns.

Your department conducts the review in the manner it finds most productive. The review is
not an externally oriented assessment and Is conducted only with reference to the opinions of your
internal senior colleagues. Ordinarily, a small committee of your senior colleagues conducts the

» review.

At the conclusion of the review, your department chair or SEAS area dean will have a
conversation with you about your progress, discuss any issues that could affect your promotion to
associate professor, and offer specific advice. After this conversation, you will also receive a
summary of the review in a letter from your department chair or SEAS area dean. This letter is first
reviewed by your divisional dean to ensure that the department is providing you with useful
feedback.

Your second-year review provides a good opportunity to initiate conversations with your
developmental network for additional advice about how to best Invest your energy and develop
your research portfolio. You should talk with your department chair or SEAS area dean about
planning for your next review and with other colleagues about how to move your research agenda
forward, what you plan to accomplish by your next review, how to plan your publications and other
activities for maximum impact, etc. You may also want to take this opportunity to talk with
colleagues, as well as staff at the Bok Center, about further developing your teaching skills.

> Externally appointed associate professors with five-year terms also undergo a second-year review.

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Your review for promotion to associate professor (which is an untenured rank at Harvard)
ordinarily occurs during the penultimate year of your appointment as an assistant professor.’
During the review process, the department will assemble a dossier — including external evaluations
— of your work. After carefully reviewing your dossier, the department will assess your research,
teaching, advising of undergraduates, and mentoring of graduate students and make a
recommendation to the divisional dean based on the following criteria: whether you have
demonstrated sufficient promise and achievement to qualify for tenure at a major research
institution within three to five years. The divisional dean closely monitors the process to ensure that
it is fair and consistent with FAS policies. Your associate review is a rigorous process that you should
take seriously, even though the majority of assistant professors are successfully promoted. It is the
first opportunity to gather formal feedback from scholars outside of Harvard and will help guide you
to focus on specific areas as you move forward to your tenure review.

The Associate Review Process

The process for promotion is briefly outlined below. Each step is described in detail directly
following the outline,

(1) Promotion Dossier: In the summer? prior to, or at the beginning of, your penultimate year as an assistant
professor, your department chair or SEAS area dean explains the review process and asks you to provide
materials for your promotion dossier.

(2) Committee Review: Your chair or area dean appoints a committee to review your dossier and
recommend to the department whether to proceed further with the evaluation.

(3) External Letters: Your chair or area dean solicits external letters, which assess your scholarship and
teaching and are included in your dossier.

(4) Departmental Vote: Your committee shares the dossier and its evaluation with the department. After a
discussion, the department votes on whether to recommend promotion.

(5) Decanal Review: In the case of an affirmative vote by the department, the divisional dean with an FAS
Committee on Appointments and Promotions (CAP) subcommittee review your case and decide on the
final outcome. In some cases, the entire CAP may review the dossier and advise the Dean on the outcome.

(6) Review Summary: Your chair or area dean discusses the outcome of your case with you and gives you a
letter summarizing the findings of the review. (If, at any point in the process, the department decides not
to proceed with your review, the divisional dean must still review the department’s decision and the
reasons behind It.)

* Assistant professors with calendar-year appointments (appalntments that end on December 31 ina future year)
ordinarlly follow a review timetable based on the calendar year. This timing is described In the footnotes.

* For calendar-year appointees, this step occurs during the winter (December/January), prior to or at the beginning
of your penultimate year.

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(1) Promotion Dossier: In the summer’ prior to, or at the beginning of, your penultimate year as an
assistant professor, your chair or area dean will meet with you to describe the review process,
deadlines for submission of materials, and the timing of various stages of the review. By early
September,’ you should submit the following materials to your department to be included in your
dossier:

e Acurriculum vitae, including a complete bibliography

e Copies of all of your publications (including any that are forthcoming) or other scholarly
material

e Teaching and advising materials, including: a list of senior theses you have supervised,
graduate exams and dissertation committees you have served on or are serving on,
representative course syllabi, and evidence of teaching effectiveness, such as teaching
awards

e A teaching statement, which discusses your approach to teaching, what you have found
effective, your own assessment of areas for improvement, and what you would like to
pursue in future courses

e A research statement, which briefly summarizes the work you have already accomplished
and lays out your research goals as you move forward to your tenure review

You may also include a list of outside scholars whom you would like the department to
contact for letters of evaluations and/or a list of scholars whom you feel should not be consulted
(this latter list must include an explanation of why these scholars should not be consulted). The
department will consider carefully how best to take this information into account when developing
the list of external reviewers.

To round out the materials in your dossier, the department will add a summary teaching
chart, which lists all of the courses you have taught since the beginning of your appointment at
Harvard, as well as the enrollments and the Q scores for each course. Your department may also
speak with or write to students about your teaching and advising. Please note that you should not
solicit letters from your students yourself, as this may put them in an awkward position.

In preparing for your review, you should keep the promotion timeline in mind. For example,
you may wish to time the submission of important manuscripts so that peer review occurs before
your penultimate year as an assistant professor. Because your associate review includes external

* For calendar-year appointees, this step occurs during the winter (December/January), prior to or at the beginning
of your penultimate year.
7 By early April, for calendar-year appointees.

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evaluations, it is important to be known in your field. You should present your work at seminars
organized by other universities and at national and international conferences. It may be helpful to
consult with your senior colleagues about what types of conferences to attend and how much time
to dedicate to such activities. You might also wish to share and discuss your work with non-Harvard
colleagues, to make sure that relevant outside scholars are familiar with your research.

(2) Committee Review: Your chair or area dean will appoint a review committee consisting of senior
faculty colleagues from your department and, as appropriate, from other departments. The
composition of the review committee must be authorized by the divisional dean to ensure that
there are no conflicts of interest and that it is sufficiently representative. This committee evaluates
your materials and then makes a recommendation to the department as to whether to continue
with the review. If the department votes not to proceed, the divisional dean must approve the
decision. The chair or area dean will then meet with you to discuss that decision; you will also
receive a letter, which will have been reviewed by the divisional dean, documenting the outcome.

(3) External Letters: If, as is most common, the department decides to proceed with the review, the
chair or area dean will solicit letters from external scholars to assess your progress in research and
teaching. The external reviewers are asked to make a recommendation about your promotion using
the following benchmark: whether you have demonstrated sufficient Eremise and achievement to
qualify for tenure at a major research institution within three to HiME years.” The chair or area dean
usually sends letters to the external scholars in early November® with a request for responses by
early January. Associate promotion dossiers must include three to five letters from external
reviewers. Before the chair or area dean sends a letter soliciting the opinions of external scholars,
both the letter and the list of recipients must be reviewed by the divisional dean. (To see a sample
letter to external reviewers, please see the FAS Appointment and Promotion Handbook:
htto://www.fas.harvard.edu/*facaff.)

(4) Departmental Vote: After the committee receives the external evaluations, it reports back to
the department regarding its findings. The tenured members of your gop aca then discuss and
vote on your case. This process usually takes place in January or February” because your completed
dossier is due at the Office for Faculty Affairs by February 28. If the vote is positive, the department
chair or SEAS area dean, together with the chair of the review committee, writes a case statement
for your dossier that includes a summary of the departmental review process and an evaluation of
your scholarly qualifications, teaching, undergraduate advising, and graduate student mentoring.

® While most departments do not include a comparison list of external scholars in these letters, it is the standard
practice in some FAS departments and in SEAS to include a comparison list.

* tn early June, with a request for responses by August, for calendar-year appointees.

*° In September, for calendar-year appointees, with completed dossiers due by October 1.

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The completed dossier is forwarded to the divisional dean for review along with a draft of your
associate professor appointment letter. This letter summarizes the findings of the review and offers
constructive advice about planning for your tenure review. If the department votes against your
promotion, then the chair or area dean must explain this decision to the divisional dean. The chair
or area dean will then meet with you to discuss the decision. In this case, you will also receive a
letter, which will have been reviewed by the divisional dean, documenting the outcome.

(5) Decanal Review: If your department votes to recommend promotion to associate professor,
then your dossier will be reviewed by the divisional dean with an FAS Committee on Appointments
and Promotions (CAP) subcommittee. The members of CAP include the FAS Dean, all of the
divisional deans, the Dean of SEAS, the deans of the College and the GSAS, the Dean for Faculty
Affairs, the Senior Associate Dean for Faculty Development, the Senior Adviser on Faculty
Development, and one additional senior faculty member from each division, The divisional dean
and the CAP subcommittee evaluate the quality and quantity of scholarship and teaching and
provide specific feedback to the chair or area dean on the draft appointment letter included in the
dossier. If the reviewers feel there are issues that warrant further discussion, the full CAP will be
asked to discuss the dossier and the appropriate feedback to the chair or area dean on the
appointment letter. Each year, at least a few dossiers for promotion to associate professor are
reviewed by CAP, This additional step does not mean that the promotions will not be successful, but
rather indicates that they would benefit from further review by a broader committee.

(6) Review Summary: The associate professor appointment letter you receive from the department
chair or SEAS area dean upon promotion is the formal record of the feedback and advice resulting
from the review. The letter conveys a summary of the opinions offered by the external scholars
(without attribution, to maintain confidentiality) and may at times include quotations from those
letters, as long as doing so does not reveal the authors’ identities. The department's considered
view of your case and its views on your prospects for future promotion are also communicated. The
goal is to make the letter as informative as possible so you can make appropriate use of it as you
move toward your tenure review.

After your review, you should meet with your department chair or SEAS area dean and with
the chair of the review committee to discuss the promotion, the feedback provided in the letter,
and the assessment of your prospects for tenure. You may also wish to speak with colleagues in the
department who have been promoted to associate professor to discuss how they have chosen to
follow up on their reviews. Further details about the process for associate reviews can be found in
the FAS Appointment and Promotion Handbook at http://www. fas.harvard.edu/“facalf,"!

t please note that the six steps discussed above are broken down further into 14 steps In the FAS Appointment
and Promotion Handbook for administrative purposes.

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Your review for promotion to professor (the only tenured rank at Harvard) ordinarily occurs
during the penultimate year of your appointment as associate professor, The criteria for tenure
within the FAS are scholarly achievement and impact on the field, evidence of intellectual
leadership and creative accomplishment, potential for future accomplishments, teaching and
advising effectiveness in a variety of settings with both undergraduate and graduate students, and
potential contributions to the University and broader scholarly communities. These standards are
the same for internally promoted and externally appointed faculty.

The Tenure Review Process

The process for promotion is briefly outlined below. Each step is described in detail directly
following the outline.

(1) Promotion Dossier: |n the summer”? prior to, or at the beginning of, your penultimate year as an
associate professor, your department chair or SEAS area dean explains the review process and asks you to
provide materials for your promotion dossier.

(2) Committee Revlew: The chair or area dean, in consultation with the divisional dean, appoints a
committee to review your dossier and recommend to the department whether to proceed with the
evaluation.

(3) External Letters: The chair or area dean solicits twelve to fifteen external letters, which compare you with
four or five leading scholars, at varying career stages in your field; these external letters assess your
scholarly achievements and provide a recommendation as to whether to grant you tenure at Harvard.
These letters are included in your dossier and reviewed by the committee.

(4) Departmental Vote: The committee drafts a case statement regarding the strengths and weakness of
your materials and shares its findings with the tenured members of your department. The tenured
members of your department discuss the case and vote on whether to recommend promotion,

(5) Confidential Letters: After a favorable vote, which does not have to be unanimous but must comprise
affirmative votes by a significant majority of the tenured faculty in the department, each tenured member
of the department writes a confidential letter to the FAS Dean for inclusion in your dossier.

(6) Case Statement: The chair.or area dean, together with the review committee, finalizes the case statement
and forwards it, with your dossier, to the FAS Dean.

(7) CAP Review: The full FAS Committee on Appointments and Promotions (CAP) reviews your dossier and
advises the Dean on the next steps, which can range from forwarding your case to the President for
review by an ad hoc committee to determining that it is not strong enough to put forward for further
review,

(8) Presidential Review: The President makes the final decision regarding all tenure appointments. To help in
making this decision, the President or Provost typically presides over an ad hoc committee that reviews
your case for promotion. External ad hoc committee members and departmental “witnesses” are relied
on for their expertise in the field.

” Associate professors with calendar-year appointments (appointments that end on December 31 in a future year)
ordinarily follow a review timetable based on the calendar year. This timing is described in the footnotes.

3 For calendar-year appointees, this step occurs during the winter (December/January), prior to or at the
beginning of your penultimate year.

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(1} Promotion Dossier: In the summer” prior to, or at the beginning of, your penultimate year as an
Associate Professor, your chair or area dean will meet with you to describe the review process,
deadlines for submission of materials, and the timing of various stages of the review. By early
September,» you should submit the following materials to your department to be included in your
dossier:

© Acurricufum vitae, including.a complete bibliography

¢ Copies of all of your publications (including any that are forthcoming) or other scholarly
materials, and (in book fields) all significant reviews of your work

e Teaching and advising materials, including: a list of theses you have supervised, graduate
students for whom you have primary responsibility, representative course syllabi, and
evidence of teaching effectiveness, such as teaching awards

e A teaching statement, which discusses your approach to teaching, what you have found
effective, ways in which you are striving to improve your teaching, and what you would like
to pursue in future courses _

e <A research statement, which briefly summarizes the work you have already accomplished
and how you have contributed to your field, and lays out your research goals

As with your associate review, you may also include a list of outside scholars whom you
would like the department to contact for letters of evaluations and/or a list of scholars whom you
feel should not be consulted (and, again, this latter list must include an explanation of why these
scholars should not be consulted). The department will consider carefully how best to take this
information into account when developing the list of external reviewers.

In preparing for your tenure review, it is important to keep the criteria for tenure in mind.
Recall that your reviewers (both internal and external) are looking for scholarly achievement and
impact on the field, evidence of intellectual leadership and creative accomplishment, potential for
future accomplishments, teaching and advising effectiveness in a variety of settings with both
undergraduate and graduate students, and potential contributions to the University and broader
scholarly communities. For this reason, it is important to think carefully about the balance between
quality and quantity of your work, where and when you publish, and how to make yourself known
in your field (both within and outside of Harvard).

‘4 For calendar-year appointees, thls step occurs during the winter (December/January), prior to or at the
beginning of your penultimate year.
1 By early April, for calendar-year appointees.

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Appropriate venues for publication differ by division, by department, and even by subfield.
Some fields value books more than articles, whereas others place more emphasis on peer-reviewed
journal and/or conference articles. Publishing a great deal in venues without rigorous review
processes will not support a tenure case as much as fewer high-impact articles that are more
competitively placed in peer-reviewed venues. The key is defining an original and significant
research agenda and directing your energies to maximize the impact and influence of your research,
Your colleagues both within and outside of the University are invaluable resources for advice on
how to achieve this.

Your colleagues, both within and outside Harvard, can also offer helpful advice on strategies
for becoming known in your field in the years prior to your tenure review. The impact you have will
depend in part on how well outside scholars come to know your work; moreover, outside
evaluators may be more likely to agree to participate in the review process if they already know of
your research and teaching. Speaking at conferences and at other institutions is an important
avenue to pursue, as is being proactive in inviting scholars to Harvard. Sending out articles or
manuscripts when they are ready for external consumption to scholars whose thoughts you would
appreciate may also be helpful (even if most people who receive them do not reply). Applying for
fellowships elsewhere can also help get you known beyond the confines of the Harvard campus, as
can serving on grant panels or as a reviewer for a professional journal.

It is also important to be known within your own department prior to a tenure review. This
may seem obvious, but in large departments with distinct subfields, it may be challenging. You
should make sure to give at least one talk within your department before you come up for tenure
(and you should discuss the timing of this talk with your chair or area dean). You should also have
conversations with a wide range of colleagues about your work and theirs; inviting colleagues, both
tenured and tenure-track, to have Junch with you is a good way to get to know them,

Although many tenure-track faculty members (and external reviewers} tend to focus on the
quality and quantity of research, teaching is also a critical factor in the tenure decision. Teaching is
broadly defined in this context and includes courses taught and advising done at the undergraduate
and graduate levels, You should think carefully about your teaching each year and offer, as
appropriate, a balance of lecture and seminar courses, Gen Ed classes, and graduate seminars. Be
mindful of the fact that your dossier will include a summary teaching chart with data on all of the
courses you have taught, their enrollments, and any teaching evaluations received. The chair or
area dean will also provide a description of your overall teaching profile. You should not solicit
letters from students for inclusion in the dossier because this can place them in an awkward
position. The chair or area dean will solicit feedback on your teaching and your performance as an
adviser of undergraduates and mentor of graduate students.

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(2) Committee Review: As with your associate review, the chair or area dean will appoint a review
committee consisting of tenured colleagues from your department and, as appropriate, from other
departments. The composition of the review committee must be authorized by the divisional dean
to ensure that there are no conflicts of interest and that it is sufficiently representative. This
committee reviews your materials and then makes a recommendation to the department as to
whether to continue with the review. If the department votes not to proceed, the divisional dean
must approve the decision. The chair or SEAS Dean will then meet with you to discuss that decision;
you will also receive a letter, which will have been reviewed by the divisional dean, documenting
the outcome. ,

(3) External Letters: If your department recommends further review, the chair or area dean usually
solicits letters from external scholars in October or November’ with a request for responses by
early January. Tenure promotion dossiers must include twelve to fifteen such letters. Before the
chair or area dean sends a letter soliciting the opinions of external scholars, both the solicitation
letter and the list of recipients are reviewed by the divisional dean.

The external evaluations help your colleagues determine whether your work has met the
FAS standards for tenure. (To see a copy of a standard letter used to solicit external evaluations,
please see the FAS Appointment and Promotion Handbook: http://www.fas.harvard.edu/~facaff.)
To help make this determination, the external reviewers are asked to compare you with other
scholars in your field. The reviewers are told explicitly that you are being considered for promotion
to tenure and will receive a copy of your CV, a sampling of your work, your research and teaching
statements, significant reviews of your work (in book fields), and a fink to your website. In contrast,
only the links to the websites of those on the comparison list are provided, and reviewers must rely
on available materials and their own knowledge of the comparands to comment on their
scholarship.

The comparison list consists of scholars who range from the strongest recently tenured
scholars to full professors who are well-established leaders in the field. In making comparisons, the
external reviewers are asked to take into account the career stages of the comparands and to
calibrate responses appropriately. All who review the dossiers (the department, deans, ad hoc
committee members, and the President) are keenly aware of the importance of this calibration and
take it very seriously, Because the comparison list includes the top scholars in your field at varying
career stages (for example, recently tenured associate professors and full professors who may have
many more years of experience than you), it is not necessary for you to be ranked first in absolute
terms. Rather, it is important that the external reviewers believe that you compare favorably to

16 Usually in May, with a request for responses by August, for calendar-year appointees,

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these scholars in intellectual leadership and creative accomplishment, quality of scholarship, and
potential for future impact on the field, given your current professional stage.

Because external reviewers will evaluate your scholarly impact and your future trajectory, it
is important that they have a very good understanding of your field and the scholars within it. For
this reason, they are usually active scholars who are full professors within your field or fields in
interdisciplinary cases. In science and engineering cases, some of the external reviewers may be
prestigious senior researchers from a corporation or research institute rather than a university. In
certain arts and humanities cases, some of the external reviewers may be well-established museum
curators or artists.

(4) Departmental Vote: Once the external letters have been received, the review committee
discusses the opinions of the external letter writers, reviews your key publications and your
teaching and advising effectiveness, and considers your record in general; they then draft a case
statement regarding the strengths and weaknesses of your dossier and share it with the
department. The tenured members in your department review all of your materials along with the
statement from the committee and then meet to discuss your case. After this discussion, the
tenured faculty vote on whether the case is strong enough to proceed. If not, the chair or area dean
must explain this decision to the divisional dean. The chair or SEAS Dean will then meet with you to
discuss the decision. In this case, you will also receive a letter, which will have been reviewed by the
divisional dean, documenting the outcome.

(5) Confidential Letters: If a significant majority of the tenured faculty in your department vote to
promote you, each of them then writes a confidential letter to the FAS Dean. These letters provide
an opportunity for each faculty member to explain his or her vote and further voice their views of
your case, It also provides the deans with more context for your case and gives them an opportunity
to ensure that the process has been fair and representative of the views of a significant majority of
the department.

(6) Case Statement: The department chair or SEAS area dean, together with the review committee,
finalizes the case statement. This statement includes a summary of the process, a description of
your scholarly area and how it fits into the department’s academic plan, and a discussion of the
strengths and weaknesses of your work, as noted in the external evaluations and the departmental
conversations. This statement is forwarded, with your dossier, to the FAS Dean by February 28.”

*” By October 1, for calendar-year appointees.

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(7) CAP Review: After the Dean receives your dossier, it is reviewed by the Committee on
Appointments and Promotions (CAP), The CAP discussion involves the FAS Dean, all of the divisional
deans, the Dean of SEAS, the deans of the College and the GSAS, the Dean for Faculty Affairs, the
Senior Associate Dean for Faculty Development, the Senior Adviser on Faculty Development, and
one additional senior faculty member from each division. CAP’s discussion focuses on whether your
work has met the standards for tenure within the FAS. Its role is solely advisory to the Dean. The
committee does not vote on appointments or promotions but acts as an experienced set of experts
on process and criteria.

After discussing your case, CAP either recommends to the FAS Dean that the case should be
forwarded to the President and Provost or that it does not meet the FAS standards for tenure.
Based on this advice, the Dean decides how to proceed with your case. In the rare instances in
which the Dean decides not to forward a case to the President and Provost, he will communicate
this decision to the chair of your department or the SEAS Dean, who will discuss the outcome with
you.

(8) Presidential Review: The President makes the final decision regarding all tenure appointments
that are forwarded to her for review. An ad hoc review is one aspect of this decision-making
process. The function of the ad hoc committee is to advise the President on whether the
candidate’s work meets the standards for tenure within the FAS. Either the President or the Provost
can preside over an ad hoc review committee, which is assembled by the divisional dean in
consultation with the Senior Vice Provost for Faculty Development and Diversity. The committee
usually consists of three active professors from outside Harvard, two active professors at Harvard
(who are not from the department making the recommendation), the President or Provost, the
Dean of the Faculty, the Senior Vice Provost for Faculty Development and Diversity, and the
divisional dean responsible for the case.

Like the externa! letter writers, the external members of the ad hoc committee are active
scholars who are full professors and are chosen for their deep understanding of your field. When
appropriate, an external member may be a prestigious senior researcher from a corporation or
research institute, a well-established artist, or a renowned museum curator. In considering the ad
hoc membership, the divisional deans and the Senior Vice Provost for Faculty Development and
Diversity ordinarily do not include external letter writers because the dossier already includes the
views of these scholars. (In exceptiona! cases, an external letter writer may be considered.) They
also endeavor to ensure that the ad hoc members do not have a conflict of interest with your case,
including having been one of your collaborators or mentors.

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At the ad hoc committee meeting, several departmental “witnesses” come individually to
speak to the committee. These witnesses usually include the department and review committee
chairs, one senior faculty member who was in favor of the promotion, and one who voted against it
{if any did so). The goal in inviting such witnesses is to ensure that the full range of views within the
department is adequately represented.

During the course of the meeting, members of the ad hoc committee are invited to
participate actively by asking questions of witnesses, as well as by exploring more general questions
related to the field. Once the committee has heard from the witnesses, the President or Provost
finishes the proceedings with a discussion of the entire case. During this period, the President or
Provost asks each member of the committee to summarize his or her views — no votes are taken.

In many cases, the President may seek additional information or advice following the ad hoc
committee meeting. It is not uncommon for some time to elapse between the ad hoc and the
President’s decision. In order to protect the candidate from any additional anxiety and to ensure
the integrity of the process, all aspécts of the President’s deliberations, including the timing of the
ad hoc, are strictly confidential. Once the President arrives at a decision, the Dean and divisional
dean are informed, and they then contact the department chair or SEAS area dean to convey the
decision.

Your department chair or the SEAS Dean will inform you of the President's decision. If it is
positive, the process of developing an offer for your tenured position begins almost immediately. If
the decision is negative, you will generally have one year (the time remaining on your appointment
as associate professor) to find another position. In such cases, the department chair or SEAS area
dean and the senior faculty will do all they can to help you find a suitable position at another
institution. Note: If, at any point in the review process, the department, the FAS Dean advised by
CAP, or the President determines that the case should not proceed, the department chair or SEAS
Dean must notify you in writing, with the letter first approved by the divisional dean.

Although this process may seem daunting, the FAS is committed to hiring and mentoring tenure-
track faculty who are outstanding both in their scholarship and teaching and have an excellent
chance of receiving tenure at Harvard. Over the last five years, the FAS has progressively embraced
the cultural changes necessary to ensure the success of a tenure-track system. This handbook
provides another step in this direction by helping to clarify the process for those undergoing
promotion reviews. Further details about the process for reviews can be found in the FAS
Appointment and Promotion Handbook at http://www. fas.harvard.edu/~facaff. ""

*8 Please note that the eight steps discussed above for interna! promotion to tenure are broken down further into
16 steps in the FAS Appointment and Promotion Handbook for administrative purposes.

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Cover Image: The montage on the front cover Includes photographs of FAS faculty who were offered appointments
as tenured Professors through the internal promotion process In the 2012-2013 academic year.

Photo credits: Robin Bernsteln (Kristyn Ulanday); Mlakl Ishil (Jon Chase, Harvard Public Affairs and
Communications); Vinothan Manoharan (Eliza Grinnell, SEAS Communications).
